                         Case 8-18-78239-las                Doc 24          Filed 12/20/18           Entered 12/20/18 13:39:07


 Fill in this information to identify your case:

                    JULIA                                               ROSALES
 Debtor 1          __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


                                         __________
 United States Bankruptcy Court for the: Eastern District of New
                                                       District of __________
                                                                    York
                     18-78239
 Case number         ___________________________________________                                                                             Check if this is an
  (If known)
                                                                                                                                             amended filing



                                  106C
Schedule C: The Property You Claim as Exempt
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ✔ You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from      Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                   522(d)(1)(5)
                                                                                                                              ____________________________
                              REAL PROPERTY
                             _________________________       322,400.00
                                                            $________________           $ ____________
      description:                                                                                                            ____________________________
                                                                                     ✔ 100% of fair market value, up to       ____________________________
      Line from     1.1                                                                 any applicable statutory limit        ____________________________
      Schedule A/B: ______

      Brief                                                                                                                   522(d)(2)
                                                                                                                              ____________________________
                              AUTO VEHICLE
                             _________________________       2,000.00
                                                            $________________           $ ____________
      description:                                                                                                            ____________________________
                                                                                     ✔ 100% of fair market value, up to       ____________________________
      Line from     3.1
                    ______                                                              any applicable statutory limit        ____________________________
      Schedule A/B:

      Brief                                                                                                                   522(d)(3)
                                                                                                                              ____________________________
                              FURNITURE
                             _________________________       1,000.00
                                                            $________________           $ ____________
      description:                                                                                                            ____________________________
      Line from                                                                      ✔ 100% of fair market value, up to       ____________________________
                     6
      Schedule A/B: ______                                                              any applicable statutory limit        ____________________________


 3. Are you claiming a homestead exemption of more than $1                     75?
     (Subject to adjustment on 4/01/1 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔    No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                          page 1 of __
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Debtor 1
              JULIA
             _______________________________________________________
                                                                     ROSALES                                       18-78239
                                                                                              Case number (if known)_____________________________________
             First Name        Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule A/B
                                                                                                                       522(d)(3)
     Brief                 ELECTRONICS                            500.00                                               ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
     Line from     7
                   ______
                                                                               ✔ 100% of fair market value, up to      ____________________________
                                                                                  any applicable statutory limit       ____________________________
     Schedule A/B:
                                                                                                                       522(d)(3)
     Brief                 APPAREL                                500.00                                               ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                                                                               ✔ 100% of fair market value, up to      ____________________________
     Line from     11
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

                                                                                                                       522(d)(4)
     Brief                JEWLERY                                    500.00                                            ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                   12                                                          ✔ 100% of fair market value, up to      ____________________________
     Line from     ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:
                                                                                                                       522(d)(3)
     Brief                2 DOGS                                     200.00                                            ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                   13                                                          ✔ 100% of fair market value, up to      ____________________________
     Line from     ______
                                                                                  any applicable statutory limit       ____________________________
     Schedule A/B:
                                                                                                                       522(d)(10)(C)
     Brief                WORKERS COMP.                         15,000.00                                              ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                                                                               ✔ 100% of fair market value, up to      ____________________________
     Line from
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
     Line from                                                                    100% of fair market value, up to     ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
     Line from                                                                    100% of fair market value, up to     ____________________________
                   ______
                                                                                  any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
     Line from                                                                    100% of fair market value, up to     ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from     ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from     ______
                                                                                  any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from     ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:


                                                      Schedule C: The Property You Claim as Exempt                                            2 of __
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